                             2:22-cv-02028-CSB-EIL # 1         Page 1 of 6
                                                                                                         E-FILED
                                                                       Monday, 31 January, 2022 05:40:58 PM
                                                                               Clerk, U.S. District Court, ILCD

                               UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS
                                      URBANA DIVISION


 LINDSAY A. VALENTINE,
                                                                  COMPLAINT
               Plaintiff,

 v.                                                         CASE NO. 2:22-cv-02028

 NATIONWIDE RECOVERY SYSTEMS,
 LTD.,                                                   DEMAND FOR JURY TRIAL

               Defendant.


                                            COMPLAINT

           NOW comes LINDSAY A. VALENTINE (“Plaintiff”), by and through her undersigned

attorneys, complaining as to the conduct of NATIONWIDE RECOVERY SYSTEMS, LTD.

(“Defendant”) as follows:

                                       NATURE OF THE ACTION

      1.   Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. § 1692 et seq. for Defendant’s unlawful conduct.

                                      JURISDICTION AND VENUE

      2.   This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is conferred upon this Court by 15 U.S.C § 1692, 28 U.S.C. §§ 1331 and 1337, as the action arises

under the laws of the United States.

      3.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant conducts business

in the Central District of Illinois and a substantial portion of the events or omissions giving rise

to the claims occurred within the Central District of Illinois.

                                               PARTIES

                                                   1
                          2:22-cv-02028-CSB-EIL # 1           Page 2 of 6




   4.   Plaintiff is a consumer over 18 years of age residing in Champaign County, Illinois which

lies within the Central District of Illinois.

   5.   Defendant provides third party debt collection services. Defendant’s registered agent is

located at 2222 Sedwick Rd., Durham, North Carolina 27713. Defendant regularly collects upon

consumers located within the State of Illinois.

   6.   Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals,        trustees, sureties, subrogees, third-party contractors,

representatives and insurers at all times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   7.   The instant action arises out of Defendant’s attempts to collect upon a consumer debt

(“subject debt”) that Plaintiff’s allegedly owes for medical services her minor son received.

   8.   Upon information and belief, following the purported default on the subject debt was

turned over to Defendant for collections.

   9.   Around early 2021, Defendant began calling Plaintiff at her cellular number (217) XXX-

1092 to collect on the subject debt.

   10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -1092. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

   11. Defendant has used several phone numbers when placing collection calls to Plaintiff’s

cellular phone, including but not limited to: (888) 203-2793, (409) 245-9896 and (866) 278-7278.

   12. Upon information and belief, Defendant regularly utilized the above referenced numbers

for its debt collection activity.




                                                  2
                         2:22-cv-02028-CSB-EIL # 1          Page 3 of 6




   13. Subsequently, Plaintiff demanded that Defendant cease contacting her as a result of

Defendant’s harassing collection campaign.

   14. Despite Plaintiff’s express demand, Defendant continued placing collection calls to

Plaintiff’s cellular phone for several months thereafter.

   15. Frustrated over Defendant’s conduct, Plaintiff spoke with her attorneys regarding her

rights, resulting in exhausting time and resources.

   16. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

   17. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies unconsented-to collection telephone

calls, emotional distress stemming from the worry that Defendant would not cease calling

irrespective of her demand.

            COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   18. Plaintiff repeats and realleges paragraphs 1 through 17 as though fully set forth herein.

   19. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3) of the FDCPA.

   20. Defendant is a “debt collector” as defined by § 1692a(6) of the FDCPA, because it

regularly use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer

accounts.

   21. Defendant identifies itself as a debt collector, and is engaged in the business of collecting

or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed

or due to others.

   22. The subject debt is a “debt” as defined by FDCPA § 1692a(5) as it arises out of a

transaction due or asserted to be owed or due to another for personal, family, or household

purposes.



                                                 3
                          2:22-cv-02028-CSB-EIL # 1           Page 4 of 6




         a. Violations of FDCPA §1692c(a)(1) and §1692d

   23. The FDCPA, pursuant to 15 U.S.C. § 1692c(a)(1), provides that “a debt collector may not

communicate with a consumer in connection with the collection of any debt - - (1) at any unusual

time . . . or a time . . . which should be known to be inconvenient to the consumer . . . .” Moreover,

the FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in any

conduct the natural consequence of which is to harass, oppress, or abuse any person in connection

with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring or engaging

any person in telephone conversation repeatedly or continuously with intent to annoy, abuse, or

harass any person at the called number.”

   24. Defendant violated §1692c(a)(1), d, and d(5) when it continuously called Plaintiff after

being notified to stop. Defendant repeatedly called Plaintiff after she demanded that Defendant

cease calling her. This repeated behavior of systematically calling Plaintiff’s phone in spite of

Plaintiff’s demands was harassing and abusive. The frequency and volume of calls shows that

Defendant willfully ignored Plaintiff’s pleas with the goal of annoying and harassing Plaintiff into

submission.

   25. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct in placing the calls was inconvenient and harassing to Plaintiff.

         b. Violations of FDCPA § 1692e

   26. The FDCPA, pursuant to 15 U.S.C. § 1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

   27. In addition, this section enumerates specific violations, such as:




                                                  4
                          2:22-cv-02028-CSB-EIL # 1            Page 5 of 6




             “The use of any false representation or deceptive means to collect or
            attempt to collect any debt or to obtain information concerning a
            consumer.” 15 U.S.C. § 1692e(10).

    28. Defendant violated §§ 1692e and e(10) when it used deceptive means to collect and/or

 attempt to collect the subject consumer debt. In spite of the fact that Plaintiff demanded that

 Defendant stop contacting her, Defendant continued to contact Plaintiff via automated calls.

 Instead of putting an end to this harassing behavior, Defendant systematically placed multiple

 phone calls to Plaintiff’s cellular phone in a deceptive attempt to force Plaintiff to answer its calls

 and ultimately make a payment. Through its conduct, Defendant misleadingly represented to

 Plaintiff that it had the legal ability to contact her when it no longer had consent to do so.

        c. Violations of FDCPA § 1692f

    29. The FDCPA, pursuant to 15 U.S.C. § 1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

    30. Defendant violated § 1692f when it unfairly and unconscionably continued to contact

Plaintiff in defiance of her express demand that it cease contacting her.

    31. As pled above, Plaintiff has been harmed and suffered damages as a result of Defendant’s

illegal actions.

        WHEREFORE, Plaintiff, LINDSAY A. VALENTINE, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

            a. Declaring that the practices complained of herein are unlawful and violate the
               aforementioned bodies of law;

            b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C. §
               1692k(a)(2)(A);

            c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as
               provided under 15 U.S.C. § 1692k(a)(1);

            d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
               § 1692k(a)(3);
                                                   5
                          2:22-cv-02028-CSB-EIL # 1       Page 6 of 6




           e. Enjoining Defendant from further contacting Plaintiff seeking payment of the
              subject debt; and

           f. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: January 31, 2022

Respectfully Submitted,

s/ Nathan C. Volheim
Nathan C. Volheim, Esq. #6302103
Counsel for Plaintiff
Admitted in the Central District of Illinois
Sulaiman Law Group, Ltd.
2500 South Highland Ave., Suite 200
Lombard, Illinois 60148
(630) 568-3056 (phone)
(630) 575-8188 (fax)
nvolheim@sulaimanlaw.com




                                               6
